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                                  #:1237


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10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12                                  SOUTHERN DIVISION
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14   ENTROPIC COMMUNICATIONS,                 No. 2:23-cv-1048-JWH-KES
     LLC,                                     No. 2:23-cv-1050-JWH-KES
15
                  Plaintiff,                  Assigned to Hon. John W. Holcomb
16
            v.                                [PROPOSED] ORDER GRANTING
17                                            COMCAST DEFENDANTS’ NOTICE
     COMCAST CORPORATION;                     OF MOTION AND MOTION TO
18   COMCAST CABLE                            DISMISS UNDER FED. R. CIV. P.
     COMMUNICATIONS, LLC; AND                 12(B)(1)
19   COMCAST CABLE
     COMMUNICATIONS                           Date: June 30, 2023
20   MANAGEMENT, LLC,                         Time: 9:00 a.m.
                                              Courtroom: 9D
21                Defendants.
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     [PROPOSED] ORDER GRANTING COMCAST’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(1)
                         NO. 2:23-CV-1048-JWH-KES / NO. 2:23-CV-1050-JWH-KES
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                                  #:1238


 1         Having considered Defendants’ Rule 12(b)(1) Motion to Dismiss Plaintiff’s
 2   Complaint with prejudice, the Court GRANTS the Motion.
 3         The undisputed facts show that in August 2020, Defendants entered into an
 4   agreement with MaxLinear, Inc., the predecessor in interest to all asserted patents. The
 5   asserted patents were subsequently transferred to Plaintiff in March 2021, subject to
 6   any legal encumbrances associated with those patents. Datatreasury Corp. v. Wells
 7   Fargo & Co., 522 F.3d 1368, 1372 (Fed. Cir. 2008). Therefore, Plaintiff lacks standing
 8   to sue Comcast Defendants for patent infringement of the asserted patents.
 9         For these reasons, the Court GRANTS the Motion and dismisses the Complaint
10   with prejudice under Rule 12(b)(1) for lack of standing.
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12         IT IS SO ORDERED.
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14   Dated:                           , 2023
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                                                                _______________
16                                               Honorable John W. Holcomb
                                                 United States District Judge
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     [PROPOSED] ORDER GRANTING COMCAST’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(1)
                         NO. 2:23-CV-1048-JWH-KES / NO. 2:23-CV-1050-JWH-KES
